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                                                                                                                 No. l7-405C

                                                                                                      (Filed: April 17,2017)
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                                                                                                                                               U,S. COURT OF
                                                                                                                                              FEDERAL CLAIMS
FALINCE LEVON PEARCE

                                                                              Plaintiff,



THE IINITED STATES,

                                                                              Defendant.

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                                                                                                      DISMISSAL ORDER

        On March 20, 2017,the Court received Mr. Faunce Pearce's complaint alleging that
the Department of Transportation illegally seized his personal properry. Compl. at 2. Mr.
Pearce is currently incarcerated and appearing pro se. According to 28 U.S.C. $ 1915(g),
a prisoner may not bring a civil action if he has had more than three civil actions dismissed
as frivolous, malicious, or for failure to state a claim upon which relief can be granted
unless the prisoner is under imminent threat of serious physical injury. Mr. Pearce has
previously had three civil cases dismissed "on the grounds that they were frivolous,
malicious, or failed to state a claim upon which relief may be granted: Case Numbers 8:01-
cv-1745-T-16 (M.D. Fla); 8:15-cv-2082-T-36 (M.D. Fla.); 8:16-cv-1394-T-23 (M.D.
Fla.)."
      Pearce v. United States, No. 16-2167 (M.D. Fla. Aug. 3,2016).

        After careful review ofthe complaint, the Court concludes that Mr. Pearce has failed
to allege facts showing he is under imminent threat of serious physical injury. As a result,
because Mr. Pearce has previously filed at least three complaints that were dismissed as
frivolous, malicious, or for failure to state a claim, he must pay the full filing fee prior to
the Court filing his complaint. See 28 U.S.C. g 1915(g).




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        On March 24, 2017 , this Court ordered Mr. Pearce to pay the $400 filing fee on or
 before Thursday, April 13,2017. To date, Mr. Pearce has not paid the mandatory filing
 fee. Therefore, this case is dismissed for failure to prosecute. The clerk is directed to enter
judgment accordingly.

       IT IS SO ORDERED.
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                                                           THOMAS C. WHEELER
                                                           Judge
